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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 EDDY HAMILTON                                       CIVIL ACTION NO. 17-1000

 VERSUS                                              JUDGE ELIZABETH E. FOOTE

 LAWNMASTERS OF SHREVEPORT, LLC                      MAGISTRATE JUDGE HORNSBY

                                   ORDER OF DISMISSAL

          The Court having been advised by counsel for the parties that the above action has

  been settled,

          IT IS ORDERED that this action is hereby DISMISSED, without prejudice to the

  right, upon good cause shown within ninety (90) days of the signing of this Order, to

  reopen the action if settlement is not consummated. The Clerk is now requested to close

  this case.

          IT IS FURTHER ORDERED that within ninety (90) days of the signing of this

  Order, the parties shall submit to the Court: (1) a joint motion to dismiss accompanied by

  a proposed order; or (2) a Rule 41(a)(1)(A)(ii) stipulation of dismissal signed by all parties

  who have appeared in this action. Any motion that may be pending in this case is hereby

  DENIED AS MOOT.

          THUS DONE AND SIGNED in Shreveport, Louisiana, on this 16th day of June,

  2022.



                                                     ________________________________
                                                     ELIZABETH ERNY FOOTE
                                                     UNITED STATES DISTRICT JUDGE
